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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT


VINCENT A. SHEPERIS,                                       :       CIVIL ACTION NO.:
                                                           :       3:17CV011318(JCH)
        Plaintiff,                                         :
                                                           :
                                                           :
v.                                                         :
                                                           :
                                                           :
SIG SAUER, INC.                                            :       JURY TRIAL DEMANDED
                                                           :
                                                           :
        Defendant.                                         :       AUGUST 31, 2017

                                        AMENDED COMPLAINT

        Pursuant to Federal Rule of Civil Procedure 15(a)(1)(A), plaintiff Vincent Sheperis

amends his Complaint against defendant Sig Sauer, Inc. as follows.

                                         NATURE OF ACTION

        This action seeks recovery of compensatory and punitive damages, and equitable relief,

caused by defendant Sig Sauer, Inc.’s negligent manufacture and/or design of a semi-

automatic firearm. Specifically, a semi-automatic pistol model known as the “P320.”

        On January 5, 2017 the plaintiff, a member of the Stamford Police Department’s Special

Response Team (SRT), accidentally dropped his Department-issued P320 while loading SRT

equipment into the rear of his vehicle. Upon impact with the ground, the pistol discharged,

without the trigger being pulled,1 shooting him in his left leg, causing substantial physical harm,



1       In the weapons industry, this type of discharge is typically referred to as an inadvertent or
unintended discharge, or “drop fire,” in which the weapon fires without a trigger pull. See, e.g., O’Neal v.
                                                    th
Remington Arms Co., LLC, 817 F.3d 1055, 1060 (8 Cir. 2015) (referring to “inadvertent discharge” of
weapon “without the trigger being pulled”).
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emotional distress, sleeplessness, and mental trauma. At the time of its descent to the ground

and the discharge, Sheperis’s pistol was, further, fully holstered. The trigger was therefore

incapable of being touched or of any manual movement by Officer Sheperis. SIG was made

aware of this incident in January 2017, days after it happened, yet issued no press release,

recall or “voluntary upgrade” until after it was sued in this court eight months later.

       The weapon should never have discharged upon mere impact with the ground, holstered

or un-holstered. In its own “Safety Without Compromise” marketing materials for the P320, SIG

SAUER states:

       “We’ve designed safety elements into every necessary feature on this pistol. From the
       trigger, to the striker and even the magazine, the P320 won’t fire unless you want it to.”

SIG further expressly represented in the marketing materials that the P320 was in fact drop

safe: “[a]nd, while available as an option, you won’t need a tabbed trigger safety for your gun to

be drop safe.” (emphasis added).

       Under these circumstances, SIG SAUER is liable for this incident under the Connecticut

Product Liability Act, Conn. Gen. Stat. §§ 52-572m and 52-572n, which includes, on a unified

basis, claims for strict liability, negligence, misrepresentation, punitive damages and breach of

implied and express warranty. Plaintiff Sheperis also brings a separate cause of action seeking

compensatory and punitive damages under the Connecticut Unfair Trade Practices Act, Conn.

Gen. Stat. § 42-110(b), for unfair and deceptive trade practices in their marketing of the

weapon, as further described below.

       He also brings causes of action under Connecticut common law for negligent and

intentional infliction of emotional distress in view of Sig’s misleading representations about the

safety of the weapon, as well as the company’s knowledge, months before and after January




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2017, that there was a defect in the trigger that could cause an unintentional discharge if the

weapon were dropped on the rear of the weapon’s slide and frame.

         Upon information and belief, defendant recklessly failed to recall and fix this defect in the

commercial model of this weapon, used by law enforcement agencies all over the country, as

well as any civilian purchasers of the weapon, until after this suit was originally brought eight

months later on August 4, 2017, in the calculated and reckless hope that no one would be shot

due to an accidental discharge. It did so to avoid incurring a cost in excess of approximately

$75 million in parts, labor, and shipping to fix the problem, thereby placing thousands of lives

unnecessarily at risk.


                                            JURISDICTION

         1.        Jurisdiction is founded on diversity of citizenship pursuant to 28 U.S.C. § 1332.

Plaintiff Vincent Sheperis is a citizen of the United States and the State of Connecticut.

Defendant Sig Sauer, Inc. has a principal place of business in New Hampshire. The amount

in controversy exceeds, exclusive of interest and costs, $75,000.

                                                VENUE

         2.       Venue is proper in this judicial district under 28 U.S.C. § 1391(a)(2). A

substantial part of the events or omissions giving rise to the plaintiff’s claims occurred within

this judicial district.

                                               PARTIES

         3.       Vincent A. Sheperis is 34-year-old citizen of the United States who currently is

domiciled in Connecticut. He has been member of the Stamford, Connecticut police department

since September 2006. He has been a member of the Department’s Special Response Team




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(SRT), known in other contexts as Special Weapons and Tactics, since 2011. He has received

numerous commendations for his courageous and highly-skilled police work from his superiors,

which has included major narcotics-trafficking arrests, and has never received discipline during

his entire career.

       4.      Sig Sauer, Inc. designs and manufactures firearms for military, law enforcement,

and commercial markets worldwide. It offers pistols, rifles, short barrel rifles, Sig Sauer

Mastershop series, and firearms accessories; and apparel, CD/DVD training, and

knives. The company also provides customized training in security subjects for corporate

customers and law enforcement agencies on a contract basis.

       It markets and sells its products through dealers. Sig Sauer, Inc. was formerly known

as SIGARMS, Inc. and changed its name to SIG SAUER, Inc. in October 2007. The company

was founded in 1985 and is headquartered in Exeter, New Hampshire.

                                          ALLEGATIONS

       5.      The discharge at issue occurred when Officer Sheperis accidentally dropped his

fully-holstered P320 on the ground in the Department’s Special Response Team bay parking

area in Stamford, Connecticut on January 5, 2017. The weapon fell to the ground from a

distance of approximately three feet. It was not thrown to the ground, “repeatedly or heavily

dropped,” or un-holstered when the incident occurred.

       6.      Due to a defect in the trigger’s weight, known to SIG at the time, the weapon’s

impact with the ground resulted in an inertia-based unintended discharge, striking Officer

Sheperis, a Special Response Team member, in his left leg.

       7.      Any and all of the weapon’s internal and external safeties failed to prevent it

from discharging and shooting Officer Sheperis.




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       8.       The bullet entered beneath his left knee, traversed the tissue and part of a

tendon behind his patella, and lodged slightly to the left of his knee with the round protruding

from his leg.

       9.       Fellow officers and EMS took Officer Sheperis to the emergency room at

Stamford Hospital where he was operated on by two trauma surgeons.

       10.      While the full extent of the physical damage to his knee and leg is not yet known,

the incident has resulted in substantial physical harm and related mental trauma to Officer

Sheperis, who was completely out of work thereafter, then placed on light duty due to

loss of function from the wound, then put out of work again after an additional surgery.

       11.      It has also thus far resulted in physical therapy, and additional surgery to repair

the damage caused by the discharged round.

       12.      Officer Sheperis’s P320 pistol discharged on mere impact with the ground,

without the trigger being pulled or even touched, which defendant SIG represented was not

possible in marketing materials for the P320. The bullet could easily have taken his life had

it moved on a different trajectory.

       13.      It also discharged while it was fully holstered in a Model 6360 ALS/SLS Mid Ride,

Level III Retention Duty Holster, which attaches to, and detaches from, a mid-thigh area mount

worn by Special Response Team members.

       14.      Because it was holstered, the trigger was protected from any manual movement

upon impact with the ground.

       15.      At no time before, during or after the incident did Officer Sheperis place his finger

on the P320’s trigger or touch the holstered firearm in any manner.




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       16.      In a Supplemental Report dated January 5, 2017, Officer Sheperis stated: “[a]t

no time from when the firearm secured within the holster fell from my person, to when it struck

the ground, or while I was waiting for assistance did I touch my firearm.”

       17.      The P320 in question was delivered to SIG’s headquarters for testing days after

the January 5, 2017 shooting. SIG therefore had knowledge of the accidental discharge mere

days after the incident in January 2017. Yet no statement, recall or voluntary upgrade was

ordered.

       18.      Upon information and belief, SIG did not drop test the weapon, but simply fired

approximately 50 rounds through it and declared it to be fine. The Stamford Police Department

provided SIG with the make and model of Sheperis’s vehicle, height measurements from which

the weapon fell, and the type of holster the weapon was in to assist SIG with drop testing of the

weapon. SIG, however, entirely ceased further communications with Officer Sheperis and the

Stamford Police Department thereafter.

       19.      In the process of testing the weapon in January 2017, a SIG employee noted a

mark or scratch on the rear of the slide.

       20.      In additional marketing material for the commercial version of the P320, under

the heading “Striker Safety,” defendant SIG SAUER further states: The Striker Safety

“[p]revents the striker from being released unless the trigger is pulled.” (emphasis added).

       21.      At the same time, SIG SAUER contradictorily states in the manual for the P320,

on page 25, that the weapon may fire if dropped without the trigger being pulled if the chamber

is not empty.

       22.      Upon information and belief, SIG SAUER inserted this warning into the P320

manual because its own internal testing, and/or other testing, revealed that it could fire if




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dropped at an angle at which the rear of the weapon’s slide and frame struck the ground,

causing the trigger to move backward and fire the gun due to the inertial force caused by such

an impact.

          23.   It is standard operating procedure for all U.S. law enforcement agencies,

including the United States Secret Service, the Federal Bureau of Investigation, the Bureau of

Alcohol, Tobacco, Firearms and Explosives, as well as local and state police departments, to

carry pistols with a chambered round. SIG was fully aware of this fact at the time it sold any and

all P320 pistols to U.S.-based law enforcement agencies and departments, and has recently

changed the original P320 manual to delete a warning to not carry a chambered round unless

firing.

          24.   Upon information and belief, SIG refrained from representing to the United States

Army that the P320 could fire with a chambered round if it was dropped to the ground, in the

process of competing for the $500,000,000 contract to replace the Army’s existing firearm in the

months leading up to January 2017.

          25.   Officer Sheperis and his employer the Stamford Police Department reasonably

relied on SIG’s marketing statements about the safety of the weapon’s trigger, as well as SIG’s

reputation for producing high-quality weapons, when it purchased the commercial version of the

P320.

          26.   The Department has since shelved all P320s issued to its Special Response

Team Operators due to the January 2017 incident.

          27.   The commercial version of the P320 is a pistol model no doubt currently in use,

or soon to be in use, by many other police departments around the nation. Since the filing of




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this suit on August 4, 2017, SIG announced a “voluntary recall” of the weapon on August 8,

2017. Since that time, thousands of these weapons have been, or will be, shipped back to SIG

to have a lighter, safer trigger installed.

        28.      SIG fixed the drop defect in the military version of the weapon - - installing a

lighter trigger to prevent any inertia-related unintended discharges, long before January 2017,

while in the process of testing the weapon and competing to obtain a contract worth more than

$500,000,000 with the United States Army. This it successfully accomplished in January 2017,

the same month Officer Sheperis was shot with the commercial version of the weapon.

        29.      Upon information and belief, there have been many prior incidents of unintended

discharges involving Sig Sauer weapons that are dropped and fire without the trigger being

pulled, or simply while being handled, or while being holstered.

        30.      For example, from 2005 to January 2011, the San Francisco Police Department

reported 29 accidental discharges (a time when it issued SIG Sauers as its primary sidearm).

        31.      In 2002, a San Fernando police officer dropped his SIG Sauer, causing an

accidental discharge that killed him, refuting claims the trigger must be pulled to fire the gun.

        32.      In 2008, an officer in Connecticut accidentally discharged his SIG Sauer while

holstering it.

        33.      In 2011, a security guard in St. Louis dropped his SIG Sauer, unintentionally

shooting someone.

        34.      In 2012, a New York transit officer accidentally discharged his SIG Sauer while

holstering it.

        35.      In 2014, a federal air marshal in New Jersey unintentionally shot himself while




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handling his SIG Sauer service weapon.

        37.     In 2016, a tactical response training instructor near Sacramento dropped his SIG

Sauer, firing a bullet into a student’s truck.

        38.     In the period between 2012 and 2015, the New York City Police Department

reported 10 accidental discharges involving Sig Sauer weapons.

        39.     On August 3, 2017, the Dallas Police Department issued a recall of the P320

due to drop safety concerns, prohibiting its use by officers until repaired. In an

interdepartmental memo, it stated:

        Sig Sauer has identified that there is a defect in the P320 handgun that could cause the
        weapon system to go off when dropped. The Sig Sauer P320 was approved for primary
        duty, secondary primary duty, and back-up use. The Firearms Training Center is
        currently working with Sig Sauer to obtain a solution for the safety issue. Until Sig Sauer
        is able to find a solution to the safety issue, the Sig Sauer P320 is no longer approved by
        the Dallas Police Department for any use.


        40.     Upon information and belief, employees at Sig Sauer’s own training academy in

New Hampshire have admitted to accidental discharges in both 2016 and 2017, including those

involving the P320.

        41.     In an interview in 2013, Sig’s Chief Financial Officer, Timothy Scullin, noted that

Sig’s revenue rose approximately 1,400 percent from 2012 to 2013 and stated that Sig Sauer’s

Growth has outpaced its industry’s growth by “two or three times.”

        42.     When asked what some of his biggest professional challenges he has faced in

his career, he stated:

        At SIG, to grow this fast, people get really challenged. When you’re growing 70 to 80
        percent in a year, all the systems get stretched, and the people really get stretched.
        You have to be able to manage multiple tasks in a very fast environment, and in an
        environment that’s highly regulated, so you can’t mess up, otherwise you get shut down.




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       It just creates a tremendous of stress on the people in the system. But we’ve got people
       that have risen to the challenge.

(emphasis added).

       43.     Days after the Dallas Police Department announced that SIG had informed them

of a defect with the P320 in July or August of 2017, SIG’s CEO released a statement stating:

“there have been zero (0) reported drop-related P320 incidents in the U.S. Commercial market.”

       44.     This statement was false, in view of SIG’s knowledge that Officer

Sheperis had been shot by a drop fire some eight months earlier with a version of the weapon

that was not the military version, but the commercial version of the weapon.

       45.     There is no difference between the version of the weapon purchased and used

by law enforcement agencies and any civilians in the U.S. Commercial market.

       46.     On August 8, 2017, SIG announced a “voluntary upgrade” of the P320 pistol,

stating that the pistol meets “rigorous testing protocols for global military and law enforcement

agencies.” SIG further stated in this release that “[a]s a result of input from law enforcement,

government and military customers, SIG has developed a number of enhancements in function,

reliability, and overall safety including drop performance.”

       47.     Upon information and belief, four months before this release, the SIG P320 failed

German drop tests in April 2017, specifically the Ulm Proof House tests. Four months before

that, SIG had first-hand knowledge that a P320 had dropped and shot Officer Sheperis.

       48.     The safety standards SIG claims the weapon passed all require a pistol to be

dropped on a one-inch thick rubber mat, and land on the same rubber mat after being dropped,

a testing criterion which is plainly outdated and absurd given that end users of the weapon do

not walk around on rubber mats when carrying the weapon. Moreover, only one of the tests




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(NIJ) requires that the weapon be dropped on the rear of the weapon.

       49.     The existing U.S. drop tests SIG claims the P320 passed, moreover, are well

known to be antiquated and inadequate. This is the reason why SIG continued to test the P320

beyond the inadequate U.S. standards, both internally, and in foreign countries such as

Germany in April 2017.

       50.     Upon information and belief, defendant recklessly failed to recall and fix this

defect in the commercial model of this weapon when it first had knowledge of the defect in

January 2017. In all likelihood, it had knowledge of the drop defect months before January

2017 while testing the P320 in the process of competing for the Army’s $500,000,000

contract against various highly-qualified competitors, thereby putting thousands of lives

unnecessarily at risk.


                                          COUNT ONE

             VIOLATION OF CONNECTICUT PRODUCTS LIABILITY ACT (CPLA)

                          Conn. Gen. Stat. §§ 52-572m and 52-572n


51.    Paragraphs one through 50 are incorporated by reference.

52.    By its actions, in producing a weapon with a design and/or manufacturing defect,

defendant Sig Sauer has violated the provisions of the CPLA.

53.    Defendant is liable to Sheperis under CPLA under theories of strict liability, negligence,

misrepresentation, punitive damages and breach of implied and express warranty.

54.    The defendant’s violation of CPLA has been the proximate and foreseeable cause of

physical harm and substantial compensatory and actual damages to Sheperis, entitling him to

recover compensatory and punitive damages.




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                                            COUNT TWO

              VIOLATION OF CONNECTICUT UNFAIR TRADE PRACTICES ACT

                                Conn. Gen. Stat. § 42-110a et seq.

55.    Paragraphs one through 54 incorporated by reference.

56.    By its actions, in representing in its marketing materials that the P320 is drop safe and

will not fire unless the trigger is pulled, while simultaneously stating in the weapon’s manual that

it may discharge if merely dropped, or even “vibrated,” without the trigger being pulled,

defendant has engaged in duplicitous, unfair and deceptive trade practices in violation of

CUTPA.

57.    Defendant had knowledge of the drop defect with the commercial version of the P320 at

least as early as January 2017, and in all likelihood months earlier, yet continued to represent in

marketing materials that it would not fire unless the trigger was pulled.

58.    Moreover, defendant modified the trigger on the military version of the P320 to

remedy the defect in the commercial version’s trigger, i.e., its weight, yet left the trigger

unchanged on the commercial version to be used by police officers and any civilian purchasers.

59.    Defendant engaged in these practices in the calculated and reckless hope that no one

would accidentally drop the commercial version of the P320 and be shot or killed, to avoid

spending in excess of $75 million to fix the problem.

60.    The defendant’s violation of CUTPA has been the proximate and foreseeable cause of

physical harm and substantial compensatory and actual damages to Sheperis, entitling him to

recover compensatory and punitive damages.




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                                        COUNT THREE

                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

61.    Paragraphs one through 60 are incorporated by reference.

62.    By its actions, defendant knew, or should have known, that the design and/or

manufacturing defect in the P320 rendered it capable of discharging without the trigger being

pulled. Yet is presented to the Stamford Police Department and Sheperis, and the general

public, in marketing materials that numerous safeties would prevent the gun from firing unless

the trigger was pulled.

63.    Defendant’s conduct created an unreasonable risk of causing the plaintiff emotional

distress;

64.    The plaintiff’s emotional distress was foreseeable;

65.    The emotional distress was severe enough that it might result in illness or bodily harm,

and in fact did result in such harm;

66.    The defendant’s conduct was the cause of the plaintiff’s distress.

67.    The trigger was not pulled by Sheperis, yet the weapon still fired and shot him in the leg.

68.    The defendant’s tortious conduct has been the proximate cause of substantial

compensatory and actual damages to Sheperis, including emotional distress, sleeplessness,

post-traumatic stress, and loss of function, entitling him to recover compensatory and

punitive damages under Connecticut common law.




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                                         COUNT FOUR

                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

69.    Paragraphs 1 through 68 are incorporated by reference.

70.    Upon information and belief, defendant had knowledge of the drop safety defect with the

commercial version of the P320 before Officer Sheperis was shot in January 2017.

71.    Despite having such knowledge, it failed to issue a press release, recall or “voluntary

upgrade” until eight months after he was shot, and the company was sued in this court.

72.    Had defendant acted responsibly and repaired the defect in the commercial version of

the P320 before January 2017, Officer Sheperis never would have been shot. The round

discharged from his weapon easily could have taken his life. He is lucky to be alive.

73.    Defendant knew, or should have known, that severe emotional distress was a likely

result of its outrageous and irresponsible conduct, which was designed to save in excess of

$100 million in repair costs.

74.    Defendant’s irresponsible conduct in this matter was reckless, extreme and

outrageous.

75.    Defendant’s conduct was the direct and proximate cause of the plaintiff’s distress.

76.    The emotional distress sustained by the plaintiff was severe.

77.    The defendant’s tortious conduct has been the proximate cause of substantial

compensatory and actual damages to Sheperis, including emotional distress, sleeplessness,

post-traumatic stress, and loss of function, entitling him to recover compensatory and

punitive damages under Connecticut common law.




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                             PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that this Court:

1.     Assume jurisdiction over this case;

2.     Empanel a jury;

3.     Award actual and compensatory damages in the amount of $1 million or in any
       other amount determined by a jury for defendant’s violation of the CPLA;

4.     Award $2 million in punitive damages for defendant’s violation of the CPLA;

5.     Award actual and compensatory damages in the amount of $1 million or in any
       other amount determined by a jury for defendant’s violation of CUTPA;

6.     Award $2 million in punitive damages for defendant’s violation of CUTPA;

7.     Award $1 million in compensatory damages under Connecticut common law for
       negligent and/or intentional infliction of emotional distress;

8.     Award plaintiff costs and reasonable attorneys’ fees in bringing this action;

9.     Order defendant to issue a recall notice or other enhanced, unambiguous
       warning to all purchasers of the P320 stating that the weapon is not drop safe
       with a chambered round, and can fire without a trigger pull;

10.    Retain jurisdiction over this case until defendant has complied with all
       orders of the Court;

11.    Award such other relief as the Court deems appropriate.

       The plaintiff demands a trial by jury on all counts.


                                              PLAINTIFF
                                              VINCENT A. SHEPERIS


                              By:

                                              __/s/Jeffrey S. Bagnell___________
                                              Jeffrey S. Bagnell
                                              Federal Bar No. CT18983
                                              Jeffrey S. Bagnell, Esq., LLC




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                                                      Attorney for Plaintiff



                                         CERTIFICATION

         This is to certify that on this 31st day of August 2017 a copy of the foregoing was filed
electronically [and served by mail on anyone unable to accept electronic filing]. Notice of this
filing will be sent by e-mail to all parties, as listed below, by operation of the Court’s electronic
filing system [or by mail to anyone unable to accept electronic filing]. Parties may access this
filing through the Court’s system.



                                                      __/s/Jeffrey S. Bagnell____________




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